                           Fourth Court of Appeals
                                 San Antonio, Texas
                                       JUDGMENT
                                     No. 04-24-00309-CV

                          IN THE INTEREST OF M.D.C., a Child

                 From the 225th Judicial District Court, Bexar County, Texas
                              Trial Court No. 2024EM500751
                        Honorable Eric J. Rodriguez, Judge Presiding

      BEFORE CHIEF JUSTICE MARTINEZ, JUSTICE CHAPA, AND JUSTICE RIOS

       In accordance with this court’s opinion of this date, this appeal is DISMISSED. Costs of
the appeal are taxed against appellant.

       SIGNED August 14, 2024.


                                               _________________________________
                                               Rebeca C. Martinez, Chief Justice
